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                                 CERTIFICATE OF SERVICE

        I, L. John Bird, hereby certify that on the 25th day of June, 2014, I caused a copy of the

Notice of Hearing to be served upon the parties listed on the service list attached hereto via the

manner indicated.


                                                      /s/ L. John Bird
                                                      L. John Bird (No. 5310)




ACTIVE 26131109v1 06/25/2014
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ASHBY & GEDDES, P.A.                                         BAKER BOTTS LLP
(COUNSEL TO WILMINGTON SAVINGS/WSFS)                         (COUNSEL TO CENTERPOINT)
ATTN: WILLIAM BOWDEN ESQ & GREGORY TAYLOR ESQ                ATTN: JAMES PRINCE; OMAR J. ALANIZ; IAN E. ROBERTS
500 DELAWARE AVE                                             2001 ROSS AVE.
PO BOX 1150                                                  DALLAS, TX 75201-2980
WILMINGTON, DE 19899
                                                             VIA FIRST CLASS MAIL
VIA HAND DELIVERY




BINGHAM MCCUTCHEN LLP                                        BINGHAM MCCUTCHEN LLP
(COUNSEL TO PACIFIC INVESTMENT MANAGEMENT CO. LLC)           (COUNSEL TO PACIFIC INVESTMENT MANAGEMENT CO. LLP)
ATTNL JULIA FROST-DAVIES ESQ &                               ATTN: JEFFREY S. SABIN ESQ
CHRISTOPHER L. CARTER ESQ                                    399 PARK AVENUE
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                                                             VIA FIRST CLASS MAIL
VIA FIRST CLASS MAIL




BROWN RUDNICK LLP                                            BROWN RUDNICK LLP
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ATTN: EDWARD WEISFELNER ESQ & AARON LAUCHHEIMER ESQ          ATTN: HOWARD SIEGEL ESQ
SEVEN TIMES SQUARE                                           185 ASYLUM STREET
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VIA FIRST CLASS MAIL                                         VIA FIRST CLASS MAIL




BROWN RUDNICK LLP                                            COMPTROLLER OF PUBLIC ACCOUNTS OF THE STATE OF TX
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ATTN: JEFFREY JONAS ESQ, ANDREW STREHLE ESQ                  BANKRUPTCY & COLLECTIONS DIVISION
JEREMY COFFEY ESQ                                            ATTN: RACHEL OBALDO & JOHN MARK STERN
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CONNOLLY GALLAGHER LLP                                      CROSS & SIMON, LLC
(COUNSEL TO PACIFIC INVESTMENT MANAGEMENT CO. LLC)          (COUNSEL TO FIDELITY MANAGEMENT & RESEARCH CO.)
ATTN: KAREN C. BIFFERATO ESQ & KELLY M. CONLAN ESQ          ATTN: MICHAEL J. JOYCE
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                                                            DRINKER BIDDLE & REATH LLP
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 VIA FIRST CLASS MAIL




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KELLY HART & HALLMAN LLP                                     KIRKLAND & ELLIS LLP
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ATTN: MICHAEL MCCONNELL ESQ & CLAY TAYLOR ESQ                ATTN: JAMES H.M. SPRAYREGEN, P.C. & & ANDREW MCGAAN ESQ
KATHERINE THOMAS ESQ                                         CHAD HUSNICK ESQ & STEVEN SERAJEDDINI ESQ
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                                                             LANDIS RATH & COBB LLP
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VIA FIRST CLASS MAIL




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MANION GAYNOR & MANNING LLP                              MCCREARY, VESELKA, BRAGG & ALLEN, PC
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VIA FIRST CLASS MAIL




                                                         MUNSCH HARDT KOPF & HARR PC
MUNSCH HARDT KOPF & HARR PC                              (COUNSEL TO ERCOT)
(COUNSEL TO ERCOT)                                       ATTN: RUSSELL L MUNSCH ESQ
ATTN: KEVIN M LIPPMAN ESQ                                3050 FROST BANK TOWER
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OFFICE OF THE TEXAS ATTORNEY GENERAL                        OFFICE OF THE TEXAS ATTORNEY GENERAL
(COUNSEL TO PUBLIC UTILITY COMMISSION OF TEXAS)             (COUNSEL TO TEXAS COMMISSION ON
ATTN: HAL MORRIS, ASHLEY BARTRAM, NICOLE MIGNONE            ENVIRONMENTAL QUALITY & RAILROAD COMMISSION)
BANKRUPTCY REGULATORY SECTION                               ATTN: HAL F MORRIS ESQ & ASHLEY BARTRAM ESQ
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OFFICE OF THE UNITED STATE TRUSTEE                          PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
ATTN: RICHARD L. SCHEPACARTER                               (COUNSEL TO AD HOC COMMITTEE OF TCEH FIRST LIEN)
J. CALEB BOGGS FEDERAL BUILDING                             ATTN: ALAN KORNBERG; KELLEY CORNISH; BRIAN HERMANN
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                                                            WILMINGTON, DE 19801
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                                                            VIA HAND DELIVERY
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RICHARDS LAYTON & FINGER                                         SAUL EWING LLP
(CO-COUNSEL TO EFHC DEBTORS)                                     (COUNSEL TO ERCOT)
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SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP                         SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
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SNELL & WILMER LLP                                               GOODWIN PROCTER LLP
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                                                                 NEW YORK, NY 10018
VIA FIRST CLASS MAIL
                                                                 VIA FIRST CLASS MAIL
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TEXAS OFFICE OF PUBLIC UTILITY COUNSEL (OPUC)                   WACHTELL, LIPTON, ROSEN & KATZ
BANKRUPTCY & COLLECTIONS DIVISION                               (COUNSEL TO THE "INTEREST HOLDERS")
ATTN: JASON A STARKS, ASST ATTORNEY GENERAL                     ATTN: RICHARD MASON; EMIL KLEINHAUS; AUSTIN WITT
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YOUNG CONAWAY STARGATT & TAYLOR, LLP                            BAILEY BRAUER PLLC
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ATTN: PAULINE MORGAN; JOEL WAITE; RYAN BARTLEY;                 ATTN: BENJAMIN L. STEWART
ANDREW MAGAZINER                                                8350 N. CENTRAL EXPY, SUITE 935
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WILMINGTON, DE 19801                                            VIA FIRST CLASS MAIL

VIA HAND DELIVERY



DYKEMA GOSSETT PLLC                                             BRICKFIELD, BURCHETTE, RITTS & STONE, P.C.
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ATTN: JEFFREY R. FINE                                           ATTN: CHRISTINE C. RYAN
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                                                                AKIN GUMP STRAUSS HAUER & FELD LLP
COUSINS CHIPMAN & BROWN, LLP                                    (COUNSEL TO AD HOC COMMITTEE OF EFIH UNSECURED
(COUNSEL TO AD HOC COMMITTEE OF EFIH UNSECURED                  NOTEHOLDERS)
NOTEHOLDERS                                                     ATTN: IRA S. DIZENGOFF; ABID QURESHI; STEPHEN M. BALDINI;
ATTN: SCOTT D. COUSINS, MARK D. OLIVERE; ANN M. KASHISHIAN      MEREDITH A. LAHAIE; ROBERT J. BOLLER; CHRISTOPHER W. CARTY;
1007 NORTH ORANGE STREET, SUITE 1110                            LINDSAY K. ZAHRADKA
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                                                                BANK OF AMERICA TOWER
VIA HAND DELIVERY                                               NEW YORK, NY 10036
                                                                VIA FIRST CLASS MAIL
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AKIN GUMP STRAUSS HAUER & FELD LLP                            KRAMER LEVIN NAFTALIS & FRANKEL LLP
(COUNSEL TO AD HOC COMMITTEE OF EFIH UNSECURED                (COUNSEL TO INDENTURE TRUSTEE)
NOTEHOLDERS                                                   ATTN: THOMAS MOERS MAYER; GREGORY A. HOROWITZ; JOSHUA
ATTN: SCOTT L.. ALBERINO; JOANNA F. NEWDECK                   K. BRODY; PHILIP BENTLEY
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COMPUTERSHARE                                                 COMPUTERSHARE TRUST COMPANY OF CANADA
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WHITE & CASE LLP                                                WHITE & CASE LLP
(COUNSEL TO AD HOC GROUP OF TCEH UNSECURED                      (COUNSEL TO AD HOC GROUP OF TCEH UNSECURED
NOTEHOLDERS)                                                    NOTEHOLDERS)
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FOX ROTHSCHILD LLP                                              CIARDI CIARDI & ASTIN
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NOTEHOLDERS)                                                    ATTN: DANIEL K. ASTIN; JOHN D. MCLAUGHLIN, JR.; JOSEPH J.
ATTN: JEFFREY M. SCHLERF; JOHN H. STROCK; L. JOHN BIRD          MCMAHON, JR.
919 N. MARKET STREET, SUITE 300                                 1204 N. KING STREET
WILMINGTON, DE 19801                                            WILMINGTON, DE 19801

VIA HAND DELIVERY                                               VIA HAND DELIVERY




COWLES & THOMPSON                                               SMITH, KATZENSTEIN & JENKINS LLP
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HAYNES AND BOONE LLP                                            HAYNES AND BOONE LLP
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NEW YORK, NY 10112                                              HOUSTON, TX 77010

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VEDDER PRICE P.C.                                               PATTERSON BELKNAP WEBB & TYLER LLP
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1204 NORTH KING STREET                                          222 DELAWARE AVENUE, SUITE 1501
WILMINGTON, DE 19801                                            WILMINGTON, DE 19801

VIA HAND DELIVERY                                               VIA HAND DELIVERY




WILMER CUTLER PICKERING HALE & DORR LLP                         WILMER CUTLER PICKERING HALE & DORR LLP
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AKIN GUMP STRAUSS HAUER & FELD LLP                             MCCATHERN, PLLC
ATTN: CHES GARRISON                                            (COUNSEL TO RED BALL OXYGEN COMPANY)
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                                                               3710 RAWLINS, SUITE 1600
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WASHINGTON, DC 20005-4026                                      WOODBURY, NJ 08096

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WINSTON & STRAWN LLP                                           MYERS-HILL
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WILMINGTON, DE 19801                                           901 MAIN STREET, SUITE 6000
                                                               DALLAS, TX 75202
VIA HAND DELIVERY
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                                                                  CURTIN & HEEFNER LLP
JACKSON WALKER, L.L.P.                                            (COUNSEL TO FLSMIDTH INC.)
ATTN: J. SCOTT ROSE                                               ATTN: ROBERT SZWAJKOS, ESQ.
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WESTON CENTRE                                                     MORRISVILLE, PA 19067
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SAN ANTONIO, TX 78205                                             VIA FIRST CLASS MAIL

VIA FIRST CLASS MAIL



POPE, HARDWICKE, CHRISTIE, SCHELL, KELLY & RAY, L.L.P.            BUCHANAN INGERSOLL & ROONEY PC
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